 Case 3:22-cv-00042-MMH-LLL Document 9 Filed 05/16/22 Page 1 of 3 PageID 27




                              United States District Court
                               Middle District of Florida
                                Jacksonville Division


KIMBERLY KINNETT,

      Plaintiff,

v.                                                         NO. 3:22-cv-42-MMH-LLL

NANCYE WALLS,

      Defendant.

________________________________________________________________________

             Report and Recommendation for Dismissal Without Prejudice

      This cause is before the Court sua sponte. Plaintiff initiated this action on

January 10, 2022, by filing a complaint, doc. 1. On the same date, plaintiff filed an

Application to Proceed in District Court Without Prepaying Fees or Costs (Short

Form), doc. 2, which the Court construed as a motion to proceed in forma pauperis.

Doc. 7 at 1. Upon review of the file, I recommend the case be dismissed for failure to

prosecute.

      On February 8, 2022, the Court entered an order, doc. 7, taking plaintiff’s

motion, doc. 2, under advisement. The Court observed plaintiff’s complaint was likely

subject to dismissal due to lack of subject matter jurisdiction and directed her to either

file an amended complaint, or in the alternative, pay the filing fee no later than March

7, 2022. Doc. 7 at 1, 8-9. Plaintiff failed to do so. On April 5, 2022, the Court entered

an Order to Show Cause, doc. 8, directing plaintiff to either file an amended
    Case 3:22-cv-00042-MMH-LLL Document 9 Filed 05/16/22 Page 2 of 3 PageID 28




complaint; pay the filing fee; or show cause in writing as to why the Court should not

recommend dismissal of his case no later than April 26, 2022. Id. at 2. Plaintiff was

warned that a failure to comply by April 26, 2022, would likely result in a

recommendation that her motion to proceed in forma pauperis be denied and the case

be dismissed without further notice. Id. To date, plaintiff has not responded to the

show cause order, doc. 8, nor has she filed an amended complaint or paid the filing

fee.

        I respectfully recommend:1

        1.    this case be dismissed without prejudice for failure to prosecute

              pursuant to Rule 3.10, Local Rules, United States District Court,

              Middle District of Florida; and

        2.    the Clerk be directed to terminate all pending motions and close the file.

        Entered in Jacksonville, Florida, on May 16, 2022.




1
  “Within 14 days after being served with a copy of [a report and recommendation on a
dispositive issue], a party may serve and file specific written objections to the proposed
findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A party may respond to another
party’s objections within 14 days after being served with a copy.” Id. A party’s failure to
serve and file specific objections to the proposed findings and recommendations alters the
scope of review by the District Judge and the United States Court of Appeals for the
Eleventh Circuit, including waiver of the right to challenge anything to which no specific
objection was made. See Fed. R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(B); 11th Cir. R. 3-1;
Order (Doc. No. 3), No. 8:20-mc-100-SDM, entered October 29, 2020, at 6.




                                              2
Case 3:22-cv-00042-MMH-LLL Document 9 Filed 05/16/22 Page 3 of 3 PageID 29




c:
Honorable Marcia Morales Howard, United States District Judge
Kimberly Kinnett, pro se
96 Bud Hollow Drive
Palm Coast, Florida 32137




                                       3
